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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                               )
DAMILARE SONOIKI,              )
                               )
      Plaintiff,               )
                               )
v.                             )                     Civil No. 19-12172-LTS
                               )
HARVARD UNIVERSITY, HARVARD )
UNIVERSITY BOARD OF OVERSEERS, )
and THE PRESIDENT AND FELLOWS )
OF HARVARD COLLEGE,            )
                               )
      Defendants.              )
                               )

                ORDER ON MOTION TO COMPEL DEFENDANTS
     TO RESPOND TO PLAINTIFF’S REQUESTS FOR PRODUCTION (DOC. NO. 100)

                                        February 17, 2023

SOROKIN, J.

       Plaintiff filed a Motion to Compel on two matters. Doc. No. 100. First, he seeks to

compel production of “any communications between Ann, Betty, and/or Cindy and Ms. Johnson

reflecting Ms. Johnson’s ‘support’ for Betty or any other complainant against Plaintiff in

connection with the Disciplinary Proceedings.” Doc. No. 100 at 1-2. This request is not a

complete subset of Request for Production No. 18. Request 18 sought, inter alia, “any

Documents and Communications concerning all interviews and/or meetings with Ann, Betty,

and/or Cindy . . . .” A communication between Ms. Johnson and Betty, for example, reflecting

“support” but not “concerning” an “interview and/or meeting” with Betty or one of the other

complainants is not within the scope of Request 18. Insofar as the Motion seeks to compel

discovery beyond the scope of Request 18 it is DENIED AS UNTIMELY. The Court established

a deadline of November 28, 2022 for serving discovery requests. Doc. No. 67. This mid-January
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2023 request made in the last business day or two of the discovery period is untimely and

unsupported by a showing of good cause. Insofar as the Motion seeks communications between

the identified persons concerning interviews and/or meetings as well as reflecting support, the

Motion does seek to compel a subset of what Request 18 sought. To this extent, the Motion is

timely. Nonetheless, this portion of the request is also DENIED. Assuming for the benefit of

Plaintiff, without deciding, that the alleged conflict arising in the form of Ms. Johnson’s

description of her prior relationship with one of the complainants against Plaintiff is relevant to

the Advocate Theory, Plaintiff has already received the email thread disclosing the “conflict” or

“support” Ms. Johnson expressed for Betty, has evidence that Harvard takes the position (both in

the email thread and the opposition) that a student’s Board Representative (here Ms. Johnson)

was not an advocate for the student, and had the opportunity to depose Ms. Johnson about this

very topic including this email thread. In these circumstances, the further discovery (of which

there is no evidence suggesting even exists) is of limited if any additional value and it is not

proportional under Rule 26, especially given that at this stage of the case, this further discovery

would inevitably delay dispositive motion practice and trial.

       Second, Plaintiff seeks to compel Harvard to produce Ms. Johnson’s handwritten notes in

response to Request No. 19. Insofar as Plaintiff seeks Johnson’s notes of the full Administrative

Board meeting on November 19, 2013, as stated at the status conference with the Court on

January 18, 2013, the Motion is DENIED AS MOOT, as Johnson has filed an affidavit stating

that she does not recall taking notes at that meeting, no longer works for Harvard, and is in

possession of no notes from her time as the Resident Dean of the relevant Harvard House in

2013 and 2014. Doc. No. 113-1. There is also no evidence that she took notes at this Ad Board




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Meeting. Johnson testified that she took notes at “subcommittee” meetings and that she “did not

always take notes” at Ad Board proceedings. Doc. No. 114-7 at 3-4.

       Insofar as Plaintiff seeks Johnson’s notes of meetings between Johnson and the Plaintiff,

Harvard has already produced notes it discovered that Johnson emailed to herself. Doc. No. 114-

6 at 3. Harvard also indicated it conducted a reasonably prudent and diligent search which

resulted in finding no further notes from Johnson. Id. Insofar as Plaintiff seeks Johnson’s notes

from subcommittee meetings, Harvard undertook the search just described and located no further

notes from Johnson. Doc. No. 113-2 at 14. Plaintiff has not provided any basis to suggest the

search conducted by Harvard was deficient. Plaintiff had the opportunity to explore all of these

issues during Johnson’s deposition and the deposition of Harvard’s Rule 30(b)(6) deponent. The

Motion to Compel a search for further notes or to require a statement that any such notes are lost

or destroyed is DENIED.



                                                     SO ORDERED.


                                                     /s/ Leo T. Sorokin
                                                     Leo T. Sorokin
                                                     United States District Judge




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